Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF OREGON

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Allen Knecht DC PC

2.   All other names debtor
     used in the last 8 years     DBA NAMASTE INTEGRATIVE MEDICINE
     Include any assumed          DBA NAMASTE CHIROPRACTIC
     names, trade names and       DBA NAMASTE INTEGRATIVE CHIROPRACTIC MEDICINE
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  9320 SW Barbur Blvd, Suite 255
                                  Portland, OR 97219-5440
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Multnomah                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.namasteclinic.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                            Case 24-32254-dwh11                   Doc 1        Filed 08/14/24
Debtor    Allen Knecht DC PC                                                                          Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                6213

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                         Chapter 7
     debtor filing?
                                         Chapter 9

                                         Chapter 11. Check all that apply:
                                                                Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                                  Case number
                                                District                                 When                                  Case number




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                             Case 24-32254-dwh11                      Doc 1         Filed 08/14/24
Debtor    Allen Knecht DC PC                                                                              Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                                                   Case 24-32254-dwh11                      Doc 1        Filed 08/14/24
Debtor   Allen Knecht DC PC                                                          Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                                     Case 24-32254-dwh11                Doc 1       Filed 08/14/24
Debtor    Allen Knecht DC PC                                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 14, 2024
                                                  MM / DD / YYYY


                             X /s/ Dr. Allen Knecht                                                       Dr. Allen Knecht
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ Theodore J. Piteo                                                       Date August 14, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Theodore J. Piteo
                                 Printed name

                                 Michael D. O'Brien & Associates, P.C.
                                 Firm name

                                 12909 SW 68th Parkway, Suite 160
                                 Portland, OR 97223
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     503-786-3800                  Email address      enc@pdxlegal.com

                                 090311 OR
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                                           Case 24-32254-dwh11                      Doc 1        Filed 08/14/24
B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                                     District of Oregon
 In re       Allen Knecht DC PC                                                                               Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 28,762.00
             Prior to the filing of this statement I have received                                        $                 28,762.00
             Balance Due                                                                                  $                       0.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):      Owner of Debtor

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
             reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
             522(f)(2)(A) for avoidance of liens on household goods.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     August 14, 2024                                                          /s/ Theodore J. Piteo
     Date                                                                     Theodore J. Piteo
                                                                              Signature of Attorney
                                                                              Michael D. O'Brien & Associates, P.C.
                                                                              12909 SW 68th Parkway, Suite 160
                                                                              Portland, OR 97223
                                                                              503-786-3800 Fax: 503-272-7796
                                                                              enc@pdxlegal.com
                                                                              Name of law firm




                                           Case 24-32254-dwh11                    Doc 1       Filed 08/14/24
Fill in this information to identify the case:

Debtor name         Allen Knecht DC PC

United States Bankruptcy Court for the:     DISTRICT OF OREGON

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       August 14, 2024                 X /s/ Dr. Allen Knecht
                                                           Signature of individual signing on behalf of debtor

                                                            Dr. Allen Knecht
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




                                          Case 24-32254-dwh11                      Doc 1         Filed 08/14/24
Fill in this information to identify the case:
Debtor name Allen Knecht DC PC
United States Bankruptcy Court for the: DISTRICT OF OREGON                                                                                  Check if this is an

Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Kapitus Servicing                                   Misc. Business                                                                                              $97,200.00
Inc                                                 Debt, Personally
2500 Wilson Blvd                                    Guaranteed by
Suite 350                                           Debtor
Arlington, VA 22201
Kapitus Servicing                                   Misc. Business                                                                                              $97,200.00
Inc                                                 Debt, Personally
2500 Wilson Blvd                                    Guaranteed by
Suite 350                                           Debtor
Arlington, VA 22201
The Fundworks                                       Misc. Business                                                                                              $76,783.00
299 Main Street,                                    Debt
Suite 1300
PMB 93894
Salt Lake City, UT
84111
Headway Capital                                     Misc. Business                                         $61,826.00                        $0.00              $61,826.00
LLC                                                 Debt, Debtor not
c/o Managing                                        aware of personal
Member                                              guarantee
175 W. Jackson
Blvd., Suite 100
Chicago, IL 60604
Vesper Capital                                      Receivables                                            $50,750.00                        $0.00              $50,750.00
1688 Meridian
Avenue                                              UCC Lien Notice
Miami Beach, FL                                     by Lexington
33139                                               Recovery
CFG Merchant                                        Misc. Business                                         $37,250.00                        $0.00              $37,250.00
Solutions, LLC                                      Debt
Bankruptcy Notice
c/o Managing
Member
85 Broad Street,
18th Floor
New York, NY 10004



Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




                                           Case 24-32254-dwh11                      Doc 1          Filed 08/14/24
Debtor     Allen Knecht DC PC                                                                       Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Internal Revenue                                    Notice - Potential                                                                                          $18,000.00
Service                                             2024 Employment
Bankruptcy Notices                                  Taxes Owed
PO Box 7346
Philadelphia, PA
19101-7346
American Express                                    Misc. Business                                                                                              $17,912.00
Bankruptcy Notice                                   Debt
Department
PO Box 981540
El Paso, TX
79998-1540
Bank of America                                     Misc. Business                                                                                              $16,455.00
Card Services                                       Debt
Bankruptcy Notices
PO Box 15102
Wilmington, DE
19886-5102
Us Bank Card                                        Misc. Business                                                                                              $13,826.00
Services                                            Debt
Attn: Bankruptcy
Po Box 5229
Cincinnati, OH
45201
Divvy                                               Misc. Business                                                                                              $10,172.00
13707 S. 200 W.,                                    Debt
Suite 100
Draper, UT 84020
Bank Of America                                     2020 Tesla Model                                       $46,790.00                 $36,639.00                $10,151.00
Bankruptcy Notices                                  S - KBB Value - MI
PO Box 45224                                        48,501
Jacksonville, FL
32232-5224
Apple Card                                          Misc. Business                                                                                                $7,356.00
Goldman Sachs                                       Debt
Lockbox 6112
PO Box 7247
Philadelphia, PA
19170-6112
Newlane Finance Co                                  Lightforce XP1                                         $42,136.00                 $35,000.00                  $7,136.00
c/o President                                       Laser
123 S. Broad St.
17th Floor
Philadelphia, PA
19109




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




                                           Case 24-32254-dwh11                      Doc 1          Filed 08/14/24
Debtor     Allen Knecht DC PC                                                                       Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Oregon Department                                   Notice - Potential                                                                                            $5,000.00
Of Revenue                                          2024 Employment
Bankruptcy Notice                                   Taxes Owed
Dept.
955 Center Street,
NE
Salem, OR
97301-2555
MII Media &                                         Misc. Business                                                                                                $2,400.00
Marketing                                           Debt
10845 Griffith Peak
Drive, #2
Las Vegas, NV
89135
Synchrony Bank /                                    Misc. Business                                                                                                $1,167.00
Amazon                                              Debt
Bankruptcy Notices
PO Box 965060
Orlando, FL 32896
Comcast Business                                    Misc. Business                                                                                                  $700.00
Bankruptcy Notice                                   Debt
PO Box 21638
Eagan, MN
55121-0638
Corporation Service                                 All business                                             Unknown                         $0.00               Unknown
Company                                             assets
PO Box 2576
Springfield, IL 62708
CT Corporation                                      All Business                                             Unknown                         $0.00               Unknown
System                                              Assets
330 N Brand Blvd
Suite 700
Attn SPRS
Glendale, CA 91203




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3




                                           Case 24-32254-dwh11                      Doc 1          Filed 08/14/24
Fill in this information to identify the case:

Debtor name           Allen Knecht DC PC

United States Bankruptcy Court for the:                      DISTRICT OF OREGON

Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $           252,598.44

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $           252,598.44


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           726,227.00


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            23,000.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           341,171.00


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $           1,090,398.00




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1




                                                         Case 24-32254-dwh11                                        Doc 1              Filed 08/14/24
Fill in this information to identify the case:

Debtor name         Allen Knecht DC PC

United States Bankruptcy Court for the:      DISTRICT OF OREGON

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number
                   HAPO Community Credit Union (as of                Business Checking &
          3.1.     8/14/2024)                                        Savings                               3130                                     $1,574.00



                   Chase Bank (Negative balance of $481              Business Checking &
          3.2.     as of 8/14/2024)                                  Savings                               5060                                             $0.00



                                                                     Business Checking &
          3.3.     US Bank (as of 8/14/2024)                         Savings                               3089                                       $125.00



                   Beneficial State Bank          (as
          3.4.     of8/14/2024)                                      Business Checking                     0581                                         $17.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                      $1,716.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                        page 1



                                            Case 24-32254-dwh11                Doc 1        Filed 08/14/24
Debtor       Allen Knecht DC PC                                                             Case number (If known)
             Name




Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                    20,330.00       -                              5,000.00 = ....                  $15,330.00
                                      face amount                             doubtful or uncollectible accounts




          11b. Over 90 days old:                       57,384.00       -                           40,000.00 =....                     $17,384.00
                                      face amount                             doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                         $32,714.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                              Net book value of         Valuation method used   Current value of
          Include year, make, model, and identification numbers            debtor's interest         for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                    (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                         page 2



                                           Case 24-32254-dwh11                     Doc 1       Filed 08/14/24
Debtor        Allen Knecht DC PC                                                           Case number (If known)
              Name

           47.1.    2020 Tesla Model S - KBB Value - MI
                    48,501                                                               $0.00     Comparable sale             $36,639.00



48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Misc Office Funiture, Fixtures and Misc Med
           Equipment                                                             $215,180.00       Replacement                 $50,000.00


           Lightforce XP1 Laser                                                          $0.00                                 $35,000.00



51.        Total of Part 8.                                                                                               $121,639.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                     Current value of
                                                                                                                     debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                 page 3



                                           Case 24-32254-dwh11                  Doc 1        Filed 08/14/24
Debtor      Allen Knecht DC PC                                                      Case number (If known)
            Name



         Net Operating Loss for 2023                                                 Tax year 2023            $93,400.00



73.      Interests in insurance policies or annuities

74.      Causes of action against third parties (whether or not a lawsuit
         has been filed)

75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

         Cryptocurrency Holdings - Coinbase Account                                                              $468.46



         Note payable from owner - Likely uncollectable                                                        $2,660.98




78.      Total of Part 11.                                                                                   $96,529.44
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                page 4



                                        Case 24-32254-dwh11                 Doc 1     Filed 08/14/24
Debtor          Allen Knecht DC PC                                                                                  Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $1,716.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                     $32,714.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $121,639.00

88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                  $96,529.44

91. Total. Add lines 80 through 90 for each column                                                            $252,598.44           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $252,598.44




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                      page 5



                                                    Case 24-32254-dwh11                               Doc 1            Filed 08/14/24
Fill in this information to identify the case:

Debtor name         Allen Knecht DC PC

United States Bankruptcy Court for the:           DISTRICT OF OREGON

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Bank Of America                              Describe debtor's property that is subject to a lien                   $46,790.00                $36,639.00
      Creditor's Name                              2020 Tesla Model S - KBB Value - MI 48,501
      Bankruptcy Notices
      PO Box 45224
      Jacksonville, FL
      32232-5224
      Creditor's mailing address                   Describe the lien
                                                   Auto Loan
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



      CFG Merchant Solutions,
2.2                                                                                                                       $37,250.00                      $0.00
      LLC                                          Describe debtor's property that is subject to a lien
      Creditor's Name                              Misc. Business Debt
      Bankruptcy Notice c/o
      Managing Member
      85 Broad Street, 18th Floor
      New York, NY 10004
      Creditor's mailing address                   Describe the lien
                                                   UCC Filing
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      5/2/2024                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number


Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 6




                                                 Case 24-32254-dwh11                      Doc 1        Filed 08/14/24
Debtor      Allen Knecht DC PC                                                                     Case number (if known)
            Name

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



      Corporation Service
2.3                                                                                                                         Unknown          $0.00
      Company                                      Describe debtor's property that is subject to a lien
      Creditor's Name                              All business assets
      PO Box 2576
      Springfield, IL 62708
      Creditor's mailing address                   Describe the lien
                                                   UCC Filing
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      05/02/2024                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.4   CT Corporation System                        Describe debtor's property that is subject to a lien                     Unknown          $0.00
      Creditor's Name                              All Business Assets
      330 N Brand Blvd
      Suite 700
      Attn SPRS
      Glendale, CA 91203
      Creditor's mailing address                   Describe the lien
                                                   UCC Filing
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      11/23/2022                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.5   EN OD Capital                                Describe debtor's property that is subject to a lien                     $37,475.00   $37,475.00
      Creditor's Name                              90 days or less: Accounts Receivable
      c/o President or Managing
      Member
      1202 Avenue U, Suite 1115
      Brooklyn, NY 11229

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                           page 2 of 6




                                                 Case 24-32254-dwh11                      Doc 1        Filed 08/14/24
Debtor      Allen Knecht DC PC                                                                     Case number (if known)
            Name

      Creditor's mailing address                   Describe the lien
                                                   Business Debt
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      3/06/2024                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.6   Headway Capital LLC                          Describe debtor's property that is subject to a lien                     $61,826.00   $0.00
      Creditor's Name                              Misc. Business Debt, Debtor not aware of
      c/o Managing Member                          personal guarantee
      175 W. Jackson Blvd., Suite
      100
      Chicago, IL 60604
      Creditor's mailing address                   Describe the lien
                                                   Business Debt
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9661
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.7   Interstate Filings                           Describe debtor's property that is subject to a lien                     Unknown      $0.00
      Creditor's Name                              All business assets
      301 Mill Rd
      Suite u-5
      Hewlett, NY 11557
      Creditor's mailing address                   Describe the lien
                                                   UCC Filing
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      11/24/2023                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                       page 3 of 6




                                                 Case 24-32254-dwh11                      Doc 1        Filed 08/14/24
Debtor      Allen Knecht DC PC                                                                     Case number (if known)
            Name

          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.8   Newlane Finance Co                           Describe debtor's property that is subject to a lien                     $42,136.00   $35,000.00
      Creditor's Name                              Lightforce XP1 Laser
      c/o President
      123 S. Broad St. 17th Floor
      Philadelphia, PA 19109
      Creditor's mailing address                   Describe the lien
                                                   UCC Filing
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      4/8/2024                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.9   Principis Capital, LLC                       Describe debtor's property that is subject to a lien                         $0.00        $0.00
      Creditor's Name                              Precautionary. Debtor has satisfied this lien
      c/o Managing Member                          but UCC remains unreleased.
      499 Chestnut St
      Suite 108
      Cedarhurst, NY 11516
      Creditor's mailing address                   Describe the lien
                                                   UCC Filing
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.1
0     Salvatore Dellitalia                         Describe debtor's property that is subject to a lien                     Unknown          $0.00
      Creditor's Name                              Receiveables
      1146 Tulip Ave
      Franklin Square, NY 11010
      Creditor's mailing address                   Describe the lien
                                                   UCC Filing


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                           page 4 of 6




                                                 Case 24-32254-dwh11                      Doc 1        Filed 08/14/24
Debtor      Allen Knecht DC PC                                                                     Case number (if known)
            Name

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      02/27/2024                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.1   US Small Business
1     Administration                               Describe debtor's property that is subject to a lien                     $450,000.00   Unknown
      Creditor's Name                              All business assets and accounts
      Attn: Isabella Guzman
      620 SW Main St. #313
      Portland, OR 97205
      Creditor's mailing address                   Describe the lien
                                                   UCC Filing
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      6/3/2020                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7800
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.1
2     Vesper Capital                               Describe debtor's property that is subject to a lien                      $50,750.00      $0.00
      Creditor's Name                              Receivables

      1688 Meridian Avenue                         UCC Lien Notice by Lexington Recovery
      Miami Beach, FL 33139
      Creditor's mailing address                   Describe the lien
                                                   Business Debt
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                          page 5 of 6




                                                 Case 24-32254-dwh11                      Doc 1        Filed 08/14/24
Debtor      Allen Knecht DC PC                                                                 Case number (if known)
            Name

          No                                        Contingent
          Yes. Specify each creditor,               Unliquidated
      including this creditor and its relative      Disputed
      priority.



3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $726,227.00

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
       Bank of America
       c/o CEO                                                                                           Line   2.1
       Corporate Center
       100 North Tryon St
       Charlotte, NC 28255

       Evridke Kollis, Esq.
       Kollis Law PLLC                                                                                   Line   2.12
       222 W. 37th Street, 9th Floor
       New York, NY 10018

       Jeffrey Zachter
       Attorney                                                                                          Line   2.2
       30 Wall Street, 8th Floor
       New York, NY 10005

       Lexington Recovery
       222 W. 37th Street, 9th Floor                                                                     Line   2.12
       New York, NY 10018

       Lien Solutions
       PO Box 29071                                                                                      Line   2.4
       Glendale, CA 91209-9071

       SBA
       10737 Gateway West, #300                                                                          Line   2.11
       El Paso, TX 79935

       US Attorney -Oregon
       Attn: Civil Process Clerk                                                                         Line   2.11
       1000 SW 3rd Ave., #600
       Portland, OR 97204

       US Attorney General
       Attn: Merrick Garland                                                                             Line   2.11
       950 Pennsylvania Avenue, NW
       Washington, DC 20530-0001




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 6 of 6




                                                 Case 24-32254-dwh11                 Doc 1         Filed 08/14/24
Fill in this information to identify the case:

Debtor name        Allen Knecht DC PC

United States Bankruptcy Court for the:         DISTRICT OF OREGON

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                           $18,000.00          $18,000.00
          Internal Revenue Service                            Check all that apply.
          Bankruptcy Notices                                     Contingent
          PO Box 7346                                            Unliquidated
          Philadelphia, PA 19101-7346                            Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Notice - Potential 2024 Employment Taxes
                                                              Owed
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          Multnomah County Assessment                         Check all that apply.
          and                                                    Contingent
          Taxation Department                                    Unliquidated
          The Multnomah Building                                 Disputed
          501 SE Hawthorne Blvd, #175
          Portland, OR 97214
          Date or dates debt was incurred                     Basis for the claim:
                                                              Precautionary
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 5
                                                                                                              49258



                                             Case 24-32254-dwh11                           Doc 1              Filed 08/14/24
Debtor       Allen Knecht DC PC                                                                         Case number (if known)
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $5,000.00   $5,000.00
          Oregon Department Of Revenue                         Check all that apply.
          Bankruptcy Notice Dept.                                 Contingent
          955 Center Street, NE                                   Unliquidated
          Salem, OR 97301-2555                                    Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Notice - Potential 2024 Employment Taxes
                                                               Owed
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.4       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                          $0.00    $0.00
          Oregon Employment Department                         Check all that apply.
          Employer Taxes                                          Contingent
          875 Union Street NE, Room 107                           Unliquidated
          Salem, OR 97311                                         Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Precautionary
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $17,912.00
          American Express                                                       Contingent
          Bankruptcy Notice Department                                           Unliquidated
          PO Box 981540                                                          Disputed
          El Paso, TX 79998-1540
                                                                             Basis for the claim: Misc. Business Debt
          Date(s) debt was incurred
          Last 4 digits of account number 1007                               Is the claim subject to offset?      No      Yes


3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $7,356.00
          Apple Card Goldman Sachs                                               Contingent
          Lockbox 6112                                                           Unliquidated
          PO Box 7247                                                            Disputed
          Philadelphia, PA 19170-6112
                                                                             Basis for the claim: Misc. Business Debt
          Date(s) debt was incurred
          Last 4 digits of account number 2066                               Is the claim subject to offset?      No      Yes


3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $16,455.00
          Bank of America Card Services                                          Contingent
          Bankruptcy Notices                                                     Unliquidated
          PO Box 15102                                                           Disputed
          Wilmington, DE 19886-5102
                                                                             Basis for the claim: Misc. Business Debt
          Date(s) debt was incurred
          Last 4 digits of account number 6884                               Is the claim subject to offset?      No      Yes




Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 5




                                              Case 24-32254-dwh11                           Doc 1              Filed 08/14/24
Debtor      Allen Knecht DC PC                                                              Case number (if known)
            Name

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $700.00
         Comcast Business                                             Contingent
         Bankruptcy Notice                                            Unliquidated
         PO Box 21638                                                 Disputed
         Eagan, MN 55121-0638
                                                                   Basis for the claim: Misc. Business Debt
         Date(s) debt was incurred
         Last 4 digits of account number 5237                      Is the claim subject to offset?     No       Yes


3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $10,172.00
         Divvy                                                        Contingent
         13707 S. 200 W., Suite 100                                   Unliquidated
         Draper, UT 84020                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Misc. Business Debt
         Last 4 digits of account number 8480
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Global Resource Advisor                                      Contingent
         3 Alton Place, Suite 3                                       Unliquidated
         Brookline, MA 02446                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Debt consolidator contracted with Slate Capital
         Last 4 digits of account number                           managment

                                                                   Notice
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $97,200.00
         Kapitus Servicing Inc                                        Contingent
         2500 Wilson Blvd                                             Unliquidated
         Suite 350                                                    Disputed
         Arlington, VA 22201
                                                                   Basis for the claim: Misc. Business Debt, Personally Guaranteed by
         Date(s) debt was incurred
                                                                   Debtor
         Last 4 digits of account number 4921
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $97,200.00
         Kapitus Servicing Inc                                        Contingent
         2500 Wilson Blvd                                             Unliquidated
         Suite 350                                                    Disputed
         Arlington, VA 22201
                                                                   Basis for the claim: Misc. Business Debt, Personally Guaranteed by
         Date(s) debt was incurred
                                                                   Debtor
         Last 4 digits of account number 0111
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Lexinton Recovery, LLC                                       Contingent
         222 W. 37th Street, 8th Floor                                Unliquidated
         New York, NY 10018                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Precautionary
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,400.00
         MII Media & Marketing                                        Contingent
         10845 Griffith Peak Drive, #2                                Unliquidated
         Las Vegas, NV 89135                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Misc. Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 3 of 5




                                           Case 24-32254-dwh11                   Doc 1          Filed 08/14/24
Debtor       Allen Knecht DC PC                                                                     Case number (if known)
             Name

3.11      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Slate Capital Management                                             Contingent
          121 SW Salmon Street, 11th Floor                                     Unliquidated
          Portland, OR 97204                                                   Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Debt consolidator who contracts with Global
          Last 4 digits of account number                                  Resource Advisors

                                                                           Notice
                                                                           Is the claim subject to offset?         No    Yes

3.12      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,167.00
          Synchrony Bank / Amazon                                              Contingent
          Bankruptcy Notices                                                   Unliquidated
          PO Box 965060                                                        Disputed
          Orlando, FL 32896
                                                                           Basis for the claim: Misc. Business Debt
          Date(s) debt was incurred
          Last 4 digits of account number 3911                             Is the claim subject to offset?         No    Yes


3.13      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $76,783.00
          The Fundworks                                                        Contingent
          299 Main Street, Suite 1300                                          Unliquidated
          PMB 93894                                                            Disputed
          Salt Lake City, UT 84111
                                                                           Basis for the claim: Misc. Business Debt
          Date(s) debt was incurred 2/6/2024
          Last 4 digits of account number                                  Is the claim subject to offset?         No    Yes


3.14      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $13,826.00
          Us Bank Card Services                                                Contingent
          Attn: Bankruptcy                                                     Unliquidated
          Po Box 5229                                                          Disputed
          Cincinnati, OH 45201
                                                                           Basis for the claim: Misc. Business Debt
          Date(s) debt was incurred
          Last 4 digits of account number 6457                             Is the claim subject to offset?         No    Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       Capital Resource International
          25852 McBean Parkway, Suite 801                                                           Line     3.13
          Santa Clarita, CA 91355
                                                                                                           Not listed. Explain

4.2       Ellen F. Rosenblum, Attorney General
          100 Justice Building                                                                      Line     2.3
          1162 Court St. NE
                                                                                                           Not listed. Explain
          Salem, OR 97310

4.3       Ellen F. Rosenblum, Attorney General
          Attn: Civil Process Clerk                                                                 Line     2.4
          100 Justice Building
                                                                                                           Not listed. Explain
          1162 Court Street, NE
          Salem, OR 97310



Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 5




                                             Case 24-32254-dwh11                          Doc 1         Filed 08/14/24
Debtor      Allen Knecht DC PC                                                          Case number (if known)
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                       related creditor (if any) listed?            account number, if
                                                                                                                                    any
4.4       Kapitus LLC
          2500 Wilson Blvd, Suite 350                                                  Line     3.7
          Arlington, VA 22201
                                                                                              Not listed. Explain

4.5       Multnomah County Attorney
          Suite 500                                                                    Line     2.2
          501 SE Hawthorne Blvd
                                                                                              Not listed. Explain
          Portland, OR 97214

4.6       Sequium Asset Solutions, LLC
          1130 Northchase Parkway, Suite 150                                           Line     3.4
          Marietta, GA 30067
                                                                                              Not listed. Explain

4.7       US Attorney -Oregon
          Attn: Civil Process Clerk                                                    Line     2.1
          1000 SW 3rd Ave., #600
                                                                                              Not listed. Explain
          Portland, OR 97204

4.8       US Attorney General
          Attn: Merrick Garland                                                        Line     2.1
          950 Pennsylvania Avenue, NW
                                                                                              Not listed. Explain
          Washington, DC 20530-0001


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                          Total of claim amounts
5a. Total claims from Part 1                                                              5a.         $                     23,000.00
5b. Total claims from Part 2                                                              5b.    +    $                    341,171.00

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.         $                      364,171.00




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 5 of 5




                                         Case 24-32254-dwh11                  Doc 1        Filed 08/14/24
Fill in this information to identify the case:

Debtor name       Allen Knecht DC PC

United States Bankruptcy Court for the:     DISTRICT OF OREGON

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Facility Lease - Assume
           lease is for and the nature of        - Current on Payments
           the debtor's interest

               State the term remaining          4 years 3 months                   American Property Management
                                                                                    15 Lake Bellevue Dr
           List the contract number of any                                          Suite 100
                 government contract                                                Bellevue, WA 98005


2.2.       State what the contract or            Assume
           lease is for and the nature of
           the debtor's interest

               State the term remaining          Month 2 Month
                                                                                    Public Storage
           List the contract number of any                                          11995 SW Corby Dr
                 government contract                                                Portland, OR 97225


2.3.       State what the contract or            Assume Contract
           lease is for and the nature of
           the debtor's interest

               State the term remaining          Month 2 Month
                                                                                    Public Storage
           List the contract number of any                                          8437 SW Barbur Blvd
                 government contract                                                Portland, OR 97219




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1




                                          Case 24-32254-dwh11                    Doc 1        Filed 08/14/24
Fill in this information to identify the case:

Debtor name      Allen Knecht DC PC

United States Bankruptcy Court for the:    DISTRICT OF OREGON

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Allen Knecht                222 Cedar Falls Rd                                        CFG Merchant                       D   2.2
                                      Washougal, WA 98671                                       Solutions, LLC                     E/F
                                                                                                                                   G




   2.2    Allen Knecht                222 Cedar Falls Rd                                        EN OD Capital                      D   2.5
                                      Washougal, WA 98671                                                                          E/F
                                                                                                                                   G




   2.3    Allen Knecht                222 Cedar Falls Rd                                        Kapitus Servicing Inc              D
                                      Washougal, WA 98671                                                                          E/F       3.7
                                                                                                                                   G




   2.4    Allen Knecht                222 Cedar Falls Rd                                        Kapitus Servicing Inc              D
                                      Washougal, WA 98671                                                                          E/F       3.8
                                                                                                                                   G




   2.5    Allen Knecht                222 Cedar Falls Rd                                        The Fundworks                      D
                                      Washougal, WA 98671                                                                          E/F       3.13
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 3



                                          Case 24-32254-dwh11                 Doc 1       Filed 08/14/24
Debtor    Allen Knecht DC PC                                                      Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Allen Knecht             222 Cedar Falls Rd                                  US Small Business                  D   2.11
                                   Washougal, WA 98671                                 Administration                     E/F
                                                                                                                          G




  2.7     Allen Knecht             222 Cedar Falls Rd                                  Vesper Capital                     D   2.12
                                   Washougal, WA 98671                                                                    E/F
                                                                                                                          G




  2.8     Allen Knecht             222 Cedar Falls Rd                                  American Express                   D
                                   Washougal, WA 98671                                                                    E/F   3.1
                                                                                                                          G




  2.9     Allen Knecht             222 Cedar Falls Rd                                  Apple Card Goldman                 D
                                   Washougal, WA 98671                                 Sachs                              E/F   3.2
                                                                                                                          G




  2.10    Allen Knecht             222 Cedar Falls Rd                                  Bank of America                    D
                                   Washougal, WA 98671                                 Card Services                      E/F   3.3
                                                                                                                          G




  2.11    Allen Knecht             222 Cedar Falls Rd                                  Global Resource                    D
                                   Washougal, WA 98671                                 Advisor                            E/F   3.6
                                                                                                                          G




  2.12    Allen Knecht             222 Cedar Falls Rd                                  MII Media &                        D
                                   Washougal, WA 98671                                 Marketing                          E/F   3.10
                                                                                                                          G




  2.13    Allen Knecht             222 Cedar Falls Rd                                  Slate Capital                      D
                                   Washougal, WA 98671                                 Management                         E/F   3.11
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 3



                                    Case 24-32254-dwh11                Doc 1      Filed 08/14/24
Debtor    Allen Knecht DC PC                                                      Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor




Official Form 206H                                              Schedule H: Your Codebtors                                Page 3 of 3



                                    Case 24-32254-dwh11                Doc 1      Filed 08/14/24
Fill in this information to identify the case:

Debtor name         Allen Knecht DC PC

United States Bankruptcy Court for the:    DISTRICT OF OREGON

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $267,510.00
      From 1/01/2024 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                               $573,459.00
      From 1/01/2023 to 12/31/2023
                                                                                          Other


      For year before that:                                                               Operating a business                               $590,267.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1




                                          Case 24-32254-dwh11                    Doc 1        Filed 08/14/24
Debtor       Allen Knecht DC PC                                                                 Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   CFG Merchant Solutions, LLC               Breach of                   Kings County Supreme                          Pending
             vs Allen Knecht DC PC                     Contract                    Court                                         On appeal
             513502 /2024                                                          New York, NY 10005
                                                                                                                                 Concluded

      7.2.   Vesper Capital, Inc vs Allen              Breach of                   Monroe County Supreme                         Pending
             Knecht DC PC                              Contract                    Court                                         On appeal
             E2024008289                                                           Rochester, NY 14614
                                                                                                                                 Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address              Description of the gifts or contributions                 Dates given                             Value




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 2




                                          Case 24-32254-dwh11                     Doc 1        Filed 08/14/24
Debtor        Allen Knecht DC PC                                                                  Case number (if known)



Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).
      2020 Tesla Model S - Minor                       Insurance payment to fix car - $8,400                      12/2023                         $8,400.00
      Collision in parking lot


Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    Michael D. O'Brien, &
               Associates, P.C.
               12909 SW 68th Parkway,
               Suite 160                                                                                               Prior to
               Portland, OR 97223                                                                                      filing                    $28,762.00

               Email or website address


               Who made the payment, if not debtor?
               Debtor's Principal - Allen Knecht



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3




                                          Case 24-32254-dwh11                      Doc 1         Filed 08/14/24
Debtor        Allen Knecht DC PC                                                                 Case number (if known)




          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To
      14.1.     5901 S Macadam Ave                                                                                  8/2018 - 10/2023
                Suite 100
                Portland, OR 97239

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services             If debtor provides meals
                                                       the debtor provides                                                      and housing, number of
                                                                                                                                patients in debtor’s care
      15.1.     Namaste Chiropractic                   Chriopractic Care and Naturopathic Healing                               Varies
                9320 SW Barbur Blvd, Suite
                255
                                                       Location where patient records are maintained (if different from         How are records kept?
                Portland, OR 97219-5440                facility address). If electronic, identify any service provider.
                                                       Same as Debtor                                                           Check all that apply:

                                                                                                                                   Electronically
                                                                                                                                   Paper


Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

                 HIPPA Information
                 Does the debtor have a privacy policy about that information?
                   No
                    Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4




                                          Case 24-32254-dwh11                      Doc 1        Filed 08/14/24
Debtor      Allen Knecht DC PC                                                                   Case number (if known)




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
      Public Storage                                         Allen Knecht and Debtor               Misc Medical Supplies                          No
      8437 SW Barbur Blvd                                                                                                                         Yes
      Portland, OR 97219

      Public Storage                                         Debtor and Owner                      Used PT machine                                No
      11995 SW Corby Dr                                                                                                                           Yes
      Portland, OR 97225



Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 5




                                          Case 24-32254-dwh11                      Doc 1        Filed 08/14/24
Debtor      Allen Knecht DC PC                                                                  Case number (if known)




           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Dominque Roche                                                                                                     2015 - Current
                    2221 SW 1ST AVENUE
                    Suite 1323
                    Portland, OR 97201
      26a.2.        Shary's Bookkeeping Services                                                                                       2015 - Current
                    4880 SW Scholls Ferry Rd
                    Unit 33
                    Portland, OR 97225

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

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Debtor      Allen Knecht DC PC                                                                  Case number (if known)



      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Dominque Roche
                    2221 SW 1ST AVENUE
                    Suite 1323
                    Portland, OR 97201
      26c.2.        Shary's Bookkeeping Services
                    4880 SW Scholls Ferry Rd
                    Unit 33
                    Portland, OR 97225
      26c.3.        Allen Knecht
                    222 Cedar Falls Rd
                    Washougal, WA 98671

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        CFG Merchant Solutions, LLC
                    Bankruptcy Notice c/o Managing Member
                    85 Broad Street, 18th Floor
                    New York, NY 10004
      26d.2.        EN OD Capital
                    c/o President or Managing Member
                    1202 Avenue U, Suite 1115
                    Brooklyn, NY 11229
      26d.3.        Headway Capital LLC
                    c/o Managing Member
                    175 W. Jackson Blvd., Suite 100
                    Chicago, IL 60604
      26d.4.        Vesper Capital
                    1688 Meridian Avenue
                    Miami Beach, FL 33139
      26d.5.        US Small Business Administration
                    Attn: Isabella Guzman
                    620 SW Main St. #313
                    Portland, OR 97205
      26d.6.        Kapitus Servicing Inc
                    2500 Wilson Blvd
                    Suite 350
                    Arlington, VA 22201

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.




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      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Allen Knecht                           222 Cedar Falls Rd                                  President                               100%
                                             Washougal, WA 98671



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Allen Knecht                                                                                                             To operate Debtor
      .    222 Cedar Falls Rd                                                                                                       and provide
             Washougal, WA 98671                      Salary/Draws - Approx. $141,000                           Over last year      medical licensing

             Relationship to debtor
             Owner


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




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Debtor      Allen Knecht DC PC                                                                  Case number (if known)




Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         August 14, 2024

/s/ Dr. Allen Knecht                                            Dr. Allen Knecht
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                      United States Bankruptcy Court
                                                                     District of Oregon
 In re    Allen Knecht DC PC                                                                                      Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Allen Knecht                                                N/A                   100%                                       Shares
222 Cedar Falls Rd
Washougal, WA 98671


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date August 14, 2024                                                     Signature /s/ Dr. Allen Knecht
                                                                                        Dr. Allen Knecht

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders




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                                        United States Bankruptcy Court
                                                   District of Oregon
 In re   Allen Knecht DC PC                                                            Case No.
                                                            Debtor(s)                  Chapter    11




                              CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Allen Knecht DC PC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




August 14, 2024                                /s/ Theodore J. Piteo
Date                                           Theodore J. Piteo
                                               Signature of Attorney or Litigant
                                               Counsel for Allen Knecht DC PC
                                               Michael D. O'Brien & Associates, P.C.
                                               12909 SW 68th Parkway, Suite 160
                                               Portland, OR 97223
                                               503-786-3800 Fax:503-272-7796
                                               enc@pdxlegal.com




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